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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

ROBERT WINNER and
LYNNE WINNER, Individually and on
behalf of all others similarly situated,
Plaintiffs, : Civil No. ADC-20-cv-3420

V.

KELCO FEDERAL CREDIT UNION,
Defendant.

ORDER GRANTING PLAINTIFFS’ UNCONTESTED
MOTION FOR SANCTIONS

This matter is before the court upon consideration of the Plaintiffs’ Motion for Sanctions
(ECF 26). Plaintiffs Robert and Lynne Winner filed their Motion on August 13, 2021. The
Defendant’s Response was due on August 27, 2021. Defendant filed no response. After
consideration of the Plaintiffs’ Motion and the attached exhibits, the Court GRANTS the Plaintiffs’
Motion for Sanctions as follows:

In accordance with Fed.R.Civ.P. 37, this Court ORDERS: |

. (1) That Plairitiffs’ Request for Admission No. 4 is deemed admitted as of the date of
entry of this Order;

(2) That within 14 days of the date of entry of this Order, Defendant make full
production of the Plaintiffs’ requested discovery, including those documents necessary for
preparation of a class notice. In the event Defendant fails to comply with discovery, Plaintiffs
may file a Motion for Default Judgment, pursuant to Fed. R. Civ. P. 37 (b)(2)(A)(vi); and,

(3) That Defendant pay Plaintiffs’ attorneys’ fees and costs associated with the Plaintiffs’

Motion to Compel (ECF 17), the failed May 14, 2021 deposition, the filing of the Amended

Scheduling Order (ECF 25), and the preparation of this Motion (ECF 26). The Plaintiffs shall
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submit a Petition for Attorneys’ Fees and Costs pursuant to Local Rules, Appendix B (D.Md.

July 1, 2021) detailing these expenses on or before September 17, 2021.

Date: pan 2} A Gi

A. David Copp’ K—
United States Magistrate Judge

 
